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UNITED STATES DISTRICT COURT U.S. DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA | cacTERN DISTRICT OF LOUISIANA
IN RE: FEMA TRAILER MDL NO. 18
FORMALDEHYDE PRODUCTS SECTION N MAGE, OCT 15 2010 sd
LIABILITY LITIGATION
THIS DOCUMENT PERTAINS TO LORETIAG. WHYTE
Civil Action No. 09-7814 JUDGE ENGELHARDT CLERK
Stefanie MAGISTRAT
Adkison, et. al.
Vs.

R-Vision, Inc., et.al.
JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55

Plaintiffs hereby request the Clerk of the Court issue summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

ROBERT C. HILLIARD .

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Southern District of TX Federal ID No. 5912
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CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

R-Vision, Inc.

Liberty Insurance Corp.

Bechtel National Inc.

CH2M Hill Construction, Inc.
Fluor Enterprises, Inc.

Shaw Environmental, Inc

Arch Specialty Insurance Company
Lexington Insurance Company

Westchester Surplus Lines Insurance Company

